Case 8:21-cv-02536-SCB-AEP Document 263 Filed 04/11/23 Page 1 of 10 PageID 9032




                        UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

  State Farm Mutual Automobile Insurance
  Company, and State Farm Fire & Casualty
  Company,

        Plaintiffs,                                Case No. 8:21-cv-02536-SCB-
                                                   AEP
        v.
                                                   Hon. Susan C. Bucklew
  Michael Thomas LaRocca, D.C., et al.,            Magistrate Judge Anthony E.
                                                   Porcelli
         Defendants.

  PLAINTIFFS’ MOTION FOR SANCTIONS AND ORDER TO SHOW CAUSE

       Plaintiffs respectfully request the Court enter an order for sanctions against

 Jessica Sells, a “marketer” who worked for Michael LaRocca and the LaRocca Clinics

 from 2019 through 2020, for failing to comply with the Court’s March 14, 2023 Order

 (“Order”) compelling her deposition. (ECF 249.) Specifically, Plaintiffs respectfully

 request an order: (1) awarding Plaintiffs $814.35, which represents their reasonable

 costs of securing a reporter and videographer to appear in Judge Porcelli’s courtroom

 on March 31 pursuant to the Order; (2) compelling Sells’ attendance at a deposition

 within 14 days of granting this Motion; and (3) scheduling a hearing to show cause

 why sanctions should not be imposed against Sells’ counsel due to Sells’ failure to

 comply with the Order and refusal to cooperate with Plaintiffs to schedule her

 deposition. This Motion is based on the accompanying brief, which is incorporated

 herein. Pursuant to Local Rule 3.01(g), counsel for Plaintiffs attempted in good faith

 to obtain compliance with the Order and request in this Motion but exhausted the


                                           1
Case 8:21-cv-02536-SCB-AEP Document 263 Filed 04/11/23 Page 2 of 10 PageID 9033




 meet-and-confer process without obtaining compliance. Plaintiffs sent Sells’ counsel

 numerous communications between March 14 and March 31 to resolve the issues

 presented in this Motion. Despite this Court’s Order, Sells has not agreed to schedule

 her deposition and opposes this Motion.




                                           2
Case 8:21-cv-02536-SCB-AEP Document 263 Filed 04/11/23 Page 3 of 10 PageID 9034




                        UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

  State Farm Mutual Automobile Insurance
  Company, and State Farm Fire & Casualty
  Company,

        Plaintiffs,                                 Case No. 8:21-cv-02536-SCB-
                                                    AEP
        v.
                                                   Hon. Susan C. Bucklew
  Michael Thomas LaRocca, D.C., et al.,            Magistrate Judge Anthony E.
                                                   Porcelli
         Defendants.

                 PLAINTIFFS’ BRIEF IN SUPPORT OF
         MOTION FOR SANCTIONS AND ORDER TO SHOW CAUSE

       For the past 10 weeks, Jessica Sells has evaded every attempt by Plaintiffs to

 take—or even schedule—her deposition. After trying unsuccessfully to schedule her

 deposition in late January and early February, Plaintiffs were forced to file a motion

 to compel. On March 14, this Court granted Plaintiffs’ motion and ordered Jessica

 Sells and her counsel, Christopher Leifer, to cooperate with Plaintiffs to schedule her

 deposition. (ECF 249.) If the parties could not agree on a date, the Court ordered her

 deposition “must be held on March 31” in Judge Porcelli’s courtroom. (Id.) The Court’s

 Order could not have been clearer:




                                           3
Case 8:21-cv-02536-SCB-AEP Document 263 Filed 04/11/23 Page 4 of 10 PageID 9035




        Despite the Order’s clarity, Sells refused to cooperate with Plaintiffs.

 Immediately after the Court entered its Order, Plaintiffs contacted Mr. Leifer asking

 for Sells’ availability. (Ex. 1.) Plaintiffs emailed Mr. Leifer again the next day. (Id.)

 Despite the fact Sells works for Mr. Leifer as his employee (and despite having contact

 with her before the Court ordered her deposition), Mr. Leifer claimed he no longer was

 in touch with Sells. (Id.) Plaintiffs followed up with Mr. Leifer on March 20. (Id.) Mr.

 Leifer did not respond. Plaintiffs contacted him again on March 23 about Sells’

 availability. (Id.) Mr. Leifer responded claiming he still had no contact with his own

 employee and Plaintiffs needed to personally serve her with a deposition subpoena to

 compel her attendance. 1 (Id.) Plaintiffs replied this was unnecessary because the Order

 already compelled her attendance. (Id.) Between March 24 and March 30, Plaintiffs

 followed up with Mr. Leifer multiple times about compliance with the Order. (Id.) Mr.

 Leifer never confirmed Sells’ availability. (Id.) Indeed, despite numerous requests from

 January 31 (when Plaintiffs first asked for Sells’ availability) to the present, Mr. Leifer

 has never provided Plaintiffs any dates for Sells’ deposition. On March 31, to comply

 with the Order, Plaintiffs appeared with a court reporter and videographer in Judge

 Porcelli’s courtroom in case Sells appeared. (Exs. 2-3.) She never did. (Ex. 3.)

        Sanctions are warranted here. Sells failed to comply with the Order by refusing

 to cooperate with Plaintiffs to schedule her deposition before March 31 and failing to



 1
  Mr. Leifer’s claim Plaintiffs needed to re-serve his client with a subpoena makes no sense. Plaintiffs
 already properly served her with a deposition subpoena (the validity of which neither he nor Sells ever
 challenged) and the Court ordered her to appear for her deposition on or before March 31.


                                                   4
Case 8:21-cv-02536-SCB-AEP Document 263 Filed 04/11/23 Page 5 of 10 PageID 9036




 appear in Judge Porcelli’s courtroom on that day. As a result, the Court should enter

 an Order requiring her to pay Plaintiffs’ costs of scheduling a court reporter and

 videographer to appear in Judge Porcelli’s courtroom on March 31. See, e.g., Fed. R.

 Civ. P. 37(d)(1)(A)(i) (“the court must require the party failing to act . . . to pay the

 reasonable expenses, including attorney’s fees, caused by the failure, unless the failure

 is substantially justified or other circumstances make an award of the expense

 unjust.”); State Exch. Bank v. Hartline, 693 F.2d 1350, 1352 (11th Cir. 1982) (district

 courts have “broad powers under the Federal Rules of Civil Procedure to impose

 sanctions for a party’s failure to abide by court orders[.]”); Kelly v. Old Dominion Freight

 Line, Inc., 376 F. App’x 909, 916 (11th Cir. 2010) (affirming the district court’s award

 of sanctions under Rule 37 when the sanctioned party failed to appear for a properly-

 noticed deposition).

        Based on this Court’s prior Order allowing Plaintiffs to conduct five depositions

 of Defendants’ “marketers” (ECF 190, PageID.5664), Plaintiffs have done everything

 they can to depose Sells—to no avail. Because of the duration of her employment with

 Defendants, the amounts Defendants paid her across time, and certain documents

 produced in discovery showing her close connection to patient referrals to the LaRocca

 Clinics, Plaintiffs want to depose her to learn the nature of her “marketing” activities

 for Defendants. In fact, given all her efforts to evade Plaintiffs’ attempts to depose

 her—including, now, refusing to comply with this Court’s Order—Plaintiffs are even

 more interested to learn about the “marketing” she performed for Defendants. Thus,

 the Court should also enter an order compelling Sells to attend another deposition

                                              5
Case 8:21-cv-02536-SCB-AEP Document 263 Filed 04/11/23 Page 6 of 10 PageID 9037




 within 14 days of granting this Motion. 2 See, e.g., Adekunle v. Care Ctrs. of Nassau, LLC,

 2013 WL 12157549, at *1 (M.D. Fla. Nov. 13, 2013) (compelling non-party witness

 to cooperate in scheduling of, and appear for, deposition after Plaintiff properly issued

 a subpoena for his deposition); Allianz Global Risks U.S. Ins. Co. v. Singlesource Roofing

 Corp., 2006 WL 5112608, at *1 (M.D. Fla. Nov. 14, 2006) (granting motion to compel

 deposition dates after Plaintiff’s counsel “made two separate attempts” to contact

 counsel to schedule the proposed deposition but was unable to establish dates); CITGO

 Petroleum Corp. v. Petroleum Logistics Serv. USA, Inc., 2022 WL 2341226, at *4–5 (S.D.

 Fla. Apr. 12, 2022) (granting motion to compel non-party deposition where issuing

 party was “diligent in attempting to coordinate [the non-party’s] compliance with the

 subpoena at a mutually convenient time” but non-party was non-compliant).

        Additionally, Plaintiffs respectfully request this Court schedule a hearing to

 show cause why sanctions should not be imposed against Mr. Leifer due to Sells’

 failure to comply with the Order and her repeated failures to cooperate with Plaintiffs

 to schedule her deposition. It is undisputed Mr. Leifer represents Sells—he filed a

 response contesting Plaintiffs’ motion to compel her deposition, argued against

 Plaintiffs’ motion on her behalf at the March 14 hearing, and appeared on March 31

 and made a statement on the record during her no-show deposition. Moreover, it is

 undisputed Sells works for him at his law firm as his employee and “marketer.” Not only



 2
   Although the discovery deadline has passed, Sells should not get the benefit of running out the clock
 by refusing to provide Plaintiffs with her availability despite numerous requests, forcing Plaintiffs to
 file a (timely) motion to compel, and failing to comply with the Court’s Order.


                                                    6
Case 8:21-cv-02536-SCB-AEP Document 263 Filed 04/11/23 Page 7 of 10 PageID 9038




 has Mr. Leifer admitted Sells is his employee, but his law firm’s website clearly

 identifies her as part of his “marketing” team: 3




        Mr. Leifer’s claims he could not guarantee his own employee’s compliance with

 this Court’s Order because he has been “out of touch” with her for almost a month

 defy common sense. Tellingly, he has never explained why he suddenly fell out of

 touch with his own employee only after the Court ordered her deposition. In fact, Mr.

 Leifer and his law firm have stonewalled Plaintiffs’ attempts to depose Sells from the

 beginning. Mr. Leifer stopped responding to Plaintiffs after their first request for

 available dates for Sells’ deposition. (ECF 228, PageID.6239.) On February 15, after

 Plaintiffs were forced to file their motion to compel, another attorney at Mr. Leifer’s

 firm for whom Sells works, Phil Friedman, contacted Plaintiffs demanding they “cease

 in their efforts to depose or seek anything further or otherwise involve Jessica Sells in

 [this] litigation[.]” (Ex. 4.) Mr. Friedman—who indicated he was Sells’ “personal



 3
    Indeed, Sells has her own dedicated page and biography on his firm’s website:
 https://fllegalgroup.com/marketing_associates/jessica-sells/ (last accessed April 11, 2023).


                                              7
Case 8:21-cv-02536-SCB-AEP Document 263 Filed 04/11/23 Page 8 of 10 PageID 9039




 attorney” during a telephone conference with Plaintiffs’ counsel, Mr. Powers, that

 same day—refused “to engage in any further discussions” about scheduling her

 deposition. (Id.) On February 22, Plaintiffs’ counsel, Messrs. Powers and Gortner, had

 a telephone conference with Mr. Friedman during which he threatened Plaintiffs with

 reprisals in litigation his firm handles against Plaintiffs in Florida state court if

 Plaintiffs continued pursuing Sells’ deposition. Despite numerous attempts to schedule

 Sells’ deposition since January 31 (including after the Court entered its Order, as

 explained, supra, p. 4), Messrs. Leifer and Friedman have never provided any dates for

 Sells. 4 This type of gamesmanship flouts basic fairness and this District’s expectation

 that counsel will cooperate regarding the scheduling of depositions. (See MDFL

 Discovery Handbook, §§ I.A.1. and II.A.1.) Thus, Plaintiffs respectfully request this

 Court schedule a hearing to show cause why sanctions should not be imposed against

 Mr. Leifer for Sells’ failure to comply with the Court’s Order and repeated failures to

 cooperate with Plaintiffs to schedule her deposition. See Campos v. Chavam Enterprises,

 Inc., 2021 WL 1178548, at *4 (S.D. Fla. Feb. 16, 2021), report and recommendation

 adopted, 2021 WL 1177485 (S.D. Fla. Mar. 29, 2021).

           In conclusion, Plaintiffs respectfully request this Court grant their motion and

 enter an Order: (1) awarding Plaintiffs $814.35, which represents their reasonable costs

 of securing a reporter and videographer to appear in Judge Porcelli’s courtroom on

 March 31 pursuant to the Order (Ex. 2); (2) compelling Sells’ to attend a deposition



 4
     Neither Sells, Mr. Leifer, nor Mr. Friedman has ever challenged the validity of Plaintiffs’ subpoena.


                                                      8
Case 8:21-cv-02536-SCB-AEP Document 263 Filed 04/11/23 Page 9 of 10 PageID 9040




 within 14 days of granting this Motion; and (3) scheduling a show cause hearing for

 why sanctions should not be imposed against Mr. Leifer due to Sells’ non-compliance

 with the Order and repeated failures to cooperate with Plaintiffs to schedule her

 deposition.

 By: /s/ Michael J. Powers / admitted pro hac vice / Katten Muchin Rosenman LLP 525
 W. Monroe Street, Chicago, IL 60661-3693 / IL 6319443 /
 michael.powers@katten.com / (312) 902-5200




                                         9
Case 8:21-cv-02536-SCB-AEP Document 263 Filed 04/11/23 Page 10 of 10 PageID 9041




                              CERTIFICATE OF SERVICE

        I hereby certify that on April 11, 2023, I electronically filed the foregoing with

  the Clerk of Court by using the CM/ECF system, which will cause notice to be sent

  to all counsel of record.

                                          By:    /s/ Michael J. Powers




                                            10
